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 3
                            UNITED STATES DISTRICT COURT
 4                         EASTERN DISTRICT OF CALIFORNIA
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 6
     UNITED STATES OF AMERICA,     )
 7                                 )
                    Plaintiff      )               1:06-CR-171-011 OWW
 8                                 )
          v.                       )               ORDER RECOMMENDING
 9                                 )               FACILITY TO BUREAU OF
     RUSTEN PAHL,                  )               PRISONS
10                                 )
                    Defendant      )
11   ______________________________)
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          The Court recommends the defendant be incarcerated at one of
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     the camps in Ashland, Sheridan or Englewood, but only insofar as it
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     is in accordance with security classification and space
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     availability.
16   IT IS SO ORDERED.
17   Dated: May 17, 2008                   /s/ Oliver W. Wanger
     emm0d6                           UNITED STATES DISTRICT JUDGE
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